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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DONALD J. TRUMP, in his capacity as
a candidate for President of the United
States,

Plaintiff

V. CIVIL ACTION FILE NO.:

 

BRIAN P. KEMP, in his official capacity
as Governor of the State of Georgia;
BRAD RAFFENSPERGER, in his official
capacity as Georgia Secretary of State,

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Defendants.

 

PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
EXPEDITED DECLARATORY AND INJUNCTIVE RELIEF AND FOR AN
EXPEDITED HEARING ON THE MOTION FOR EXPEDITED
DECLARATORY AND INJUNCTIVE RELIEF

Plaintiff, by and through undersigned counsel, hereby files his Memorandum
of Law in Support of Motion for Expedited Declaratory and Injunctive Relief and
for an Expedited Hearing on the Motion for Expedited Declaratory and Injunctive

Relief, showing this Honorable Court as follows:
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I. Introduction

As the Eighth Circuit recently held, [while injunctive relief preserving the
ability to effectuate [state] election law, as written by the Legislature, has some
potential for administrative disruption and voter confusion, this die was cast long
ago. Voter confusion was inevitable once the [state official] issued guidance to
voters that was directly in contradiction to [state] election law. An orderly process
[is] hopelessly compromised when [a state official] usurp[s] the authority of the
Legislature under the Electors Clause of the Constitution.” Carson, 978 F.3d at 1061.
If Defendants are not enjoined from further violating the Georgia Election Code, the
unlawful arrogation of power from the legislature, the Electors and Elections, and
Due Process Clauses of the United States Constitution, Plaintiff (and the public) will
suffer further irreparable harm for which there is no adequate remedy at law.
Plaintiff's Motion for preliminary and permanent injunctive relief should be granted.

Il. Legal Standard

a. Standing

Plaintiff has standing as a candidate for President of the United States under
the Electors Clause of the United States Constitution because he has been injured in

fact by the violations described in the Complaint. See, e.g., Carson v. Simon, 978

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F.3d 1051, 1057-59 (8th Cir. 2020). Plaintiff also satisfies the criteria for prudential
standing. Id.

b. Preliminary Injunction

Granting or denying a preliminary injunctionis a decision within the
discretion of the district court. See Palmer v. Braun, 287 F.3d 1325, 1329 (1 Ith Cir.
2002); Carillon Importers, Ltd. v. Frank Pesce Intern. Group Ltd., 112 F.3d 1125,
1126 (11th Cir. 1997) (citing United States v. Lambert, 695 F.2d 536, 539 (11th Cir.
1983)). A preliminary injunction is an extraordinary and drastic remedy and should
not be granted unless the movant "clearly carries the burden of persuasion" of all
four prerequisites, which is always upon the plaintiff. See Siegel v. LePore, 234 F.3d
1163, 1176 (11th Cir. 2000); Parker v. State Bd. of Pardons & Paroles, 275 F.3d
1032, 1034-35 (11th Cir. 2001); see also Schiavo ex. rel. Schindler v. Schiavo, 403
F.3d 1223, 1231 (11th Cir. 2005).

This Court may grant a preliminary injunction only if Plaintiff demonstrates
each of the following prerequisites: (1) a substantial likelihood of success on the
merits; (2) a substantial threat irreparable injury will occur absent issuance of
the injunction; (3) the threatened injury outweighs the potential damage the

requested injunction may cause the non-moving parties; and (4)

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the injunction would not be adverse to the public interest. See Palmer, 287 F.3d at
1329; Cate v. Oldham, 707 F.2d 1176 (11th Cir. 1983); See Shatel Corp. v. Mao Ta
Lumber and Yacht Corp., 697 F.2d 1352 (11th Cir. 1983).

"In this Circuit, '[a] preliminary injunction is an extraordinary and drastic
remedy not to be granted unless the movant clearly established the "burden of
persuasion" as to the four requisites." A/l Care Nursing Service, Inc. v. Bethesda
Memorial Hospital, Inc., 887 = F.2d 1535, 1537 = (11th Cir.
1989) (a preliminary injunctionis issued only when "drastic relief is
necessary). The moving party's failure to demonstrate a "substantial likelihood of
success on the merits" may defeat the party's claim, regardless of the party's ability
to establish any of the other elements. See Church v. City of Huntsville, 30 F.3d
1332, 1342 (11th Cir. 1994); see also Siegel v. Lepore, 234 F.3d 1163, 1176
(11th Cir. 2000). "'The chief function of a preliminary injunction is to preserve the
status quo until the merits of the controversy can be fully and fairly adjudicated.’ See
Northeastern Fl. Chapter of Ass'n of Gen. Contractors of Am. v. City of Jacksonville,
Fil., 896 F.2d 1283, 1284 (11th Cir.1990)." See Suntrust Bank v. Houghton Mifflin

Co., 268 F.3d 1257, 1265 (11th Cir. 2001).

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Federal Rule of Civil Procedure 65 governs motions for
a preliminary injunction. Section (d) of Rule 65 provides: "Every order granting
an injunction ...binds only ... the parties to the action, their officers, agents, servants,
employees, and attorneys, and other persons who are in active concert or
participation with anyone." See Fed. R. Civ. P. 65(d). Jn re Infant Formula Antitrust
Litig., MDL 878 v. Abbott Labs., 72 F.3d 842, 842-43 (11th Cir. 1995) (stating that
district court lacks subject-matter jurisdiction to issue preliminary or
permanent injunction against nonparty).

The purpose of a preliminary injunction is to maintain the status quo until a
court can enter its final decision on the merits of the case. United States v. DBB, Inc.,
180 F.3d 1277, 1282 (11th Cir. 1999); see also Canal Auth. of Fla. v. Callaway, 489
F.2d 567, 572 (Sth Cir. 1974) (adopted by the Eleventh Circuit).

Iii. ARGUMENT AND CITATION OF AUTHORITIES

Plaintiff, through his Verified Complaint which is incorporated herein by
reference has established all four prongs of the test: (1) a substantial likelihood of
success on the merits; (2) a substantial threat of irreparable injury if the injunction is
not granted; (3) that the threatened injury to the moving party outweighs whatever

damage the proposed injunction may cause the opposing party; and that (4) if issued,

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the injunction would not be adverse to the public interest. See Nken v. Holder, 556
U.S. 418, 426 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987); Four
Seasons Hotels & Resorts, B. V. v. Consorcio Barr, S.A., 320 F.3d 1205, 1210 (11th
Cir. 2003); New Georgia Project v. Raffensperger, 976 F.3d 1278, 1280 (2020).

By ignoring the Georgia Legislature’s express directions regarding the
collection, handling, processing, canvassing, and counting of absentee ballots, and
related activities and/or through improper certification of elections and/or electors
and related activities by an through implementation of an unconstitutional settlement
agreement, Defendants have violated the Georgia Election Code, and thereby also
violated the Electors and Elections Clauses and have also violated the Due Process
Clause of the United States Constitution. Additionally, Defendants through their
conduct threaten further violations of these legal and Constitutional provisions.
Their actions have further violated 42 U.S.C. § 1983.

By virtue of these violations and as factually described in the Verified
Complaint in {] 6-48, the Defendants certified an unconstitutional and unlawful
Presidential election in Georgia. By its plain terms, the Electors Clause vests the
power to determine the “Manner” (capitalization in original) of selecting electors

exclusively in the “Legislature” of each state. See McPherson v. Blecker, 146 U.S.

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at 25; Bush v. Gore, 531 U.S. at 98. By certifying an election conducted in violation
of Georgia election law, including without limitation, counting illegally cast votes
and corrupting the Election Code through an unconstitutional settlement agreement,
the Defendants infringed the exclusive province of the Legislature under the Electors
Clause. Defendants’ conduct has caused and will cause Plaintiff irreparable harm.
(Complaint § 60). Defendants have undermined the constitutionally authorized
process for appointing Electors and will continue to do so for future elections, unless
the relief requested in the Complaint is granted. The public interest weighs strongly
in favor of an injunction. The precedent it would set to allow an executive branch
official to certify an election conducted in violation of the duly-enacted election laws
of a state and through a void as against public policy settlement agreement
unconstitutionally arrogating power from the legislature, as they pertain to a

presidential election “is toxic to the concepts of the rule of law and fair elections.”

Carson, 978 F.3d at 1061.

Plaintiff does not seek a remedy disenfranchising any lawful votes — i.e., votes
that are not illegal cast and thereafter validly counted. Rather, he asks the Court to
uphold the rule of law and the important separation of powers principles in the U.S.

Constitution, which are fundamentally intended to protect all voters in the country,

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both those inside and outside Georgia, in elections for President and Vice President

of the United States.

A. Plaintiff Has A Substantial Likelihood of Success on the Merits

Plaintiff has a substantial likelihood of success on the merits because the
election held on November 3, 2020 did not comply with state law, and, therefore,
substantively failed as provided in 3 U.S.C. § 2 and violated Article II and the Due
Process Clause of the Constitution. The President’s contest in the Superior Court of
Fulton County, State of Georgia, incorporated supra by reference, alleges there are
enough illegal votes sufficient to either change the outcome or to place the result of
that election in doubt, as well as constitutional claims under equal protection and
due process clauses of State Constitutions. Georgia’s failure to afford Plaintiff his
right to the election contest, as well as the violation of Georgia election laws by the
state’s election officials, means that the “manner” for choosing electors established
by the Legislature was not followed under Article II and the election failed under 3
U.S.C. § 2. The President is therefore likely to succeed on the merits of his claim
that Georgia has substantively “failed” to choose its electors in accord with the
“manner” prescribed by the Legislature violating Due Process.

B. Plaintiff Will Suffer Irreparable Injury

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If the votes of the electors who have been certified contrary to Georgia law
are permitted to be counted by the joint session of Congress on January 6, 2021,
those electoral votes will benefit Plaintiff's opponent rather than Plaintiff, and
depending on the result of still-pending election challenges in other states, may well
prove outcome determinative in the election of the next President. That is an

irreparable injury.

C. The Issuance of an Injunction Will Not Substantially Injure Other
Parties Interested in the Proceeding

The issuance of an injunction directing Defendants to de-certify electors
chosen in violation of state law will not be a cognizable injury to other parties,
because no party has a valid interest in illegal votes cast or illegally-certified
electoral votes. All parties have an interest in ensuring an election which complies
with Article If and Due Process when determining presidential electors and speed
should not be a determinative factor. “The desire for speed is not a general excuse
for ignoring equal protection guarantees.” Bush v. Gore, 531 U.S. 98, 108 (2000)
(per curiam). The threatened harm to Plaintiff outweighs any harm to Defendants if
the preliminary injunction is granted, as there is no interest that Defendants may

have that is greater than Plaintiff in certifying illegally counted votes.

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D. An Injunction is in The Public Interest and Not Violative of Public

Policy

An injunction will allow the State Legislature to exercise its inherent authority
under art. II, to decide upon a new manner for choosing electors when the State has
“failed” to choose electors in the “manner” established by the Legislature. See also,
3 U.S.C. § 2. The state court’s failure to even designate a judge to hear the state
contest deprives the public of the ability to have access to critical information
regarding the validity of the election conducted on November 3, 2020. Therefore,
Plaintiff's request for an injunction directing Defendants to de-certify the election of

electors should be granted.
Il. Conclusion

Plaintiff has met his “burden of persuasion” and all four prongs necessary to
grant a preliminary injunction because he has in his Verified Complaint set out a
case sufficient to support his claims to sustain preliminary and final relief. Further,
Plaintiff intends to tender additional evidence at the hearing on this Motion.
Accordingly, Plaintiff's Motion should be GRANTED, a hearing set as requested

in the Verified Complaint, and specifically, this Honorable Court should:

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a) Identify and declare the constitutional violations that have occurred as
described in the Complaint;

b) Declare that the 2020 Presidential Election in the State of Georgia is null
and void;

c) Issue a positive injunction directing Defendants to de-certify the electors
previously certified after an election held in violation of law;

d) Issue a positive injunction directing the Georgia Legislature to appoint the
electors. See Trump v. Wisconsin Elections Commission, et al., 20-3414
(December 24, 2020 7" Cir.)

WHEREFORE, Plaintiff Donald J. Trump requests the Court set this matter
for expedited hearing and requests a hearing on this Motion to take place within
forty-eight (48) hours of the filing of this Motion or such other shortened time period
which the Court determines to be reasonable under the circumstances and which will
permit all parties an opportunity for appeals at all levels of the federal judicial system
to be completed by January 6, 2021, and thereafter grant the relief set forth above,

and grant all other relief which the Court deems just and proper.

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Respectfully submitted, this 315‘ day of December, 2020.

THE HILBERT LAW FIRM, LLC

/s/ Kurt R. Hilbert (e-sig.)
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Vv. CIVIL ACTION FILE NO.

 

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capacity as Georgia Secretary of State,

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Defendants.

 

CERTIFICATION OF COMPLIANCE
Pursuant to Northern District of Georgia Civil Local Rule 7.1D, the
undersigned counsel certifies that this PLAINTIFF’S MEMORANDUM OF LAW
IN SUPPORT OF MOTION FOR EXPEDITED DECLARATORY AND
INJUNCTIVE RELIEF AND FOR AN EXPEDITED HEARING ON THE
MOTION FOR EXPEDITED DECLARATORY AND INJUNCTIVE RELIEF

was prepared in Times New Roman, 14 point font, pursuant to Local Rule 5.1C.
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This 31st day of December, 2020.

THE HILBERT LAW FIRM, LLC

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